                                           Case 4:22-cv-08981-JST Document 32 Filed 03/07/23 Page 1 of 2




                                   1                                      UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                         Grace Lau and Christopher Karwowski,
                                   4     individually and on behalf of all others ,           Case No. 4:22-cv-08981
                                         similarly situated,
                                                          Plaintiff(s),
                                   5
                                                                                              APPLICATION FOR ADMISSION OF
                                                   v.                                         ATTORNEY PRO HAC VICE
                                   6
                                                                                              (CIVIL LOCAL RULE 11-3)
                                          Gen Digital Inc., a corpration, and     ,
                                   7      Jumpshot Inc., a corporation,
                                                          Defendant(s).
                                   8

                                   9

                                  10          I,        Amanda Klevorn          , an active member in good standing of the bar of

                                  11         the State of Louisiana             , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing:               Plaintiffs             in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is         Jonathan M. Rotter          , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                         234137
                                       within the State of California. Local co-counsel’s bar number is: _________________.

                                  16   Burns Charest LLP, 365 Canal Street,                   Glancy Prongay & Murray LLP, 1925 Century
                                       Suite 1170, New Orleans, Louisiana 70130               Park East, Suite 2100, Los Angeles, CA 90067
                                  17    MY ADDRESS OF RECORD                                   LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (504) 799-2845                                         (310) 201-9150
                                        MY TELEPHONE # OF RECORD                               LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       aklevorn@burnscharest.com                              jrotter@glancylaw.com
                                  20    MY EMAIL ADDRESS OF RECORD                             LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 35193                  .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                     0 times in the 12 months
                                              I have been granted pro hac vice admission by the Court _______
                                  27   preceding this application.
                                  28
                        Case 4:22-cv-08981-JST Document 32 Filed 03/07/23 Page 2 of 2




                                 I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                  2    the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                  3    Rules. I declare under penalty of perjury that the foregoing is true    d corre /
                                   3/3/23
                                                                                                      �
                  4    Dated:
                                                                                              �
                                                                                               -�
                                                                                            APPL CANT
                  5

                  6

                  7

                  8                                       ORDER GRANTING APPLICATION

                  9                              FOR ADMISSION OF ATTORNEY PRO HAC VICE

                  10

                  11             IT IS HEREBY ORDERED THAT the application of _____:A....::m=a '--'--    K=le'-'-v=or'-'-n=---- is
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                       granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney

                       must indicate appearance pro hac vice. Service of papers upon, and communication with, local co­
. ::! u           14   counsel designated in the application will constitute notice to the party .
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                  15           March 7, 2023
                       Dated: _________      _
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......    VJ

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 C:      t::                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE
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